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                      conduct, bullying, retaliation, discrimination or disrespect based on race, age, sexual orientation/ disability, ethnit gmup or any protected class status, intimidation, micro~
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                      performance recognition. Could include purposely ambiguous CFE feedback whether verba l or written, lack of a.clear and supported growth planfrom manager, gender
                      qrdiv.ersity bias relating to hiring, promoting, pay or performance rewards. biserimihatioh or harassment at work can happen Inside or outside of the work-'-place.)

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  (If you are a Nike employee, Nike's harassrnentand anti-discrimination policyrnan be foqncfhere; http§:finikehr.nlke.comlnodel15978)




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      :MY EXPERIENCE
       (If you ne~d more space, please photocopy this page or lncfude additional attachments 'as needed)

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